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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Case No. 1:14-cv-02887-JLK-MEH

 ALEJANDRO MENOCAL,
 MARCOS BRAMBILA,
 GRISEL XAHUENTITLA,
 HUGO HERNANDEZ,
 LOURDES ARGUETA,
 JESUS GAYTAN,
 OLGA ALEXAKLINA,
 DAGOBERTO VIZGUERRA, and
 DEMETRIO VALERGA,
 on their own and on behalf of all others similarly situated,

          Plaintiffs,

 v.

 THE GEO GROUP, INC.,

          Defendant.


        EXHIBIT A TO GEO’S REPLY IN SUPPORT OF ITS CROSS-MOTION FOR
                            SUMMARY JUDGMENT




          GEO’s Statement of             Plaintiffs’ Response and     GEO’s Reply to Plaintiffs’
           Undisputed Facts               Supporting Evidence                Response
        ICE is a federal agency tasked
        with       enforcing      U.S.
  1.    immigration laws. 6 U.S.C. §     Undisputed
        542. ECF 270 at 5 (Material
        Undisputed Fact #1).
        The United States Congress
        delegated to the Department
                                         Admit that 8 U.S.C. §
        of Homeland Security, and its                                 No further response
  2.                                     1231(g) constitutes one
        agency ICE, the sole                                          required.
        authority to arrange for all     source of the Secretary’s
        aspects of the detention of      detention authority. Dispute

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          GEO’s Statement of                Plaintiffs’ Response and        GEO’s Reply to Plaintiffs’
            Undisputed Facts                  Supporting Evidence                  Response
        aliens pending the results of      that it is the sole source, as
        their            immigration       other sources include 8
        proceedings. 8 U.S.C. §            U.S.C.                       §
        1231(g)(1) (“The [Secretary        1103(a)(A)(11)(A) & (B),
        of Homeland Security] shall        and 8 U.S.C. § 1555(d), and
        arrange for appropriate places     dispute        that     these
        of detention for aliens
                                           enactments            provide
        detained pending removal or
        a decision on removal.”).          authority for ICE to arrange
                                           for “all aspects” of the
                                           detention of immigration
                                           detainees. The text and
                                           history of 8 U.S.C. §
                                           1555(d) and funds relating
                                           to specific aspects of the
                                           detention of immigration
                                           detainees.

        ICE has the authority to
        detain foreign nationals
        suspected of entering the
  3.    United States unlawfully. 8        Undisputed.
        U.S.C. §§ 1101 et seq.; ECF
        270 at 5 (Material Undisputed
        Fact #2).
        In         making          these   Admit that ICE is required
        arrangements, ICE must             to consider alternatives to
        consider the use of private        building its own detention
        contractors to detain aliens       centers, and that these may
        prior to constructing its own      include subcontracts with
        facilities. 8 U.S.C. §             private entities. Dispute that
        1231(g)(2)       (“Prior      to   the text of 8 USC § GEO does not dispute
  4.    initiating any project for the     1231(g)(2) requires use of a Plaintiffs’ added
        construction of any new            private subcontractor in explanation.
        detention facility for the         every instance, as ICE also
        Service, the Commissioner          enters into contracts with
        shall consider the availability    state        and        local
        for purchase or lease of any       governments.       Plaintiffs’
        existing prison, jail, detention   Opp. Ex. 1 (Venturella Dep.
        center, or other comparable        162:13-18).



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          GEO’s Statement of             Plaintiffs’ Response and   GEO’s Reply to Plaintiffs’
           Undisputed Facts               Supporting Evidence              Response
        facility suitable for such
        use.”).
                                         Dispute. ICE owns and
                                         operates, at least in part,
                                         some of its own facilities,
                                         including       the    Krome
                                         detention center in South
                                         Florida. Plaintiffs’ Reply
                                         Ex. 2, ECF No. 287-2
                                         (Evans Dep. 48:13-49:6);
                                         GEO Ex. B, ECF No. 271-2
                                         (Tae Johnson Decl. ¶ 9)
                                         (“Service           Processing
        As a result of Congress’
                                         Centers are owned by ICE
        directive,     ICE     neither
                                         and       staffed     by     a
        constructs nor operates its
                                         combination of federal and
        own immigration detention
                                         contract employees.”) The
        facilities, ECF 271-2 (Dec. of
                                         evidence GEO provides No further response
  5.    Tae Johnson, cited as “Ex.
                                         does not support the required.
        B”), and therefore its state
                                         statement that ICE does not
        and private contractors are
                                         construct or operate its own
        critical to carrying out the
                                         immigration          detention
        federal       function      of
                                         facilities, or the statement
        immigration detention.
                                         that it does not do so as “a
                                         result      of      Congress’s
                                         directive,” or the statement
                                         that state and private
                                         contractors are “critical.”
                                         Moreover,        ICE     could
                                         operate detention centers
                                         itself if it so desired.
                                         Plaintiffs’ Opp. Ex. 1
                                         (Venturella Dep. 190:13-
                                         18).
        ICE contracts with GEO to
        house some of its detainees in
        detention            facilities
  6.                                    Undisputed.
        throughout the country. See
        https://www.geogroup.com/L
        ocations. ECF 270 at 5



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        GEO’s Statement of             Plaintiffs’ Response and   GEO’s Reply to Plaintiffs’
          Undisputed Facts              Supporting Evidence              Response
      (Material Undisputed Fact
      #3).
      Among GEO’s portfolio of
  7. ICE detention facilities is the   Undisputed.
      Aurora Facility. Id.
      ICE chose to contract with the
      AIPC to detain aliens pending
      the resolution of their
  8.                                   Undisputed.
      immigration      proceedings.
      ECF 270 at 9 (Additional
      Undisputed Fact #5).
      GEO       owns     and     has
      continuously operated AIPC,
      under contracts with ICE
  9. from October 22, 2004 to          Undisputed.
      October 22, 2014. ECF 270 at
      5 (Material Undisputed Fact
      #5).
      A contract between ICE and
      GEO may be modified during
      its term by mutual consent of
  10.                                  Undisputed.
      GEO and ICE. ECF 270 at 5
      (Material Undisputed Fact
      #6)
      All immigration detention
      processing centers, including
      the AIPC, must adhere to
      ICE’s standards. In 2000, the
      Immigration                and
  11.                                  Undisputed.
      Naturalization        Service
      (“INS”), ICE’s predecessor,
      adopted the original National
      Detention Standards (the
      “2000 NDS”).
      Subsequently,             ICE
      promulgated            similar
      standards in the form of the
  12. PBNDS in 2008 (the “2008         Undisputed.
      PBNDS”) and 2011 (later
      updated in 2016) (the “2011
      PBNDS”).       (2000     NDS


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        GEO’s Statement of             Plaintiffs’ Response and       GEO’s Reply to Plaintiffs’
         Undisputed Facts               Supporting Evidence                  Response
      available                   at
      https://www.ice.gov/detentio
      n-standards/2000;       2008
      PBNDS        available     at:
      https://www.ice.gov/detentio
      n-standards/2008;       2011
      PBNDS        available     at:
      https://www.ice.gov/detentio
      n-standards/2011).
      In each contract GEO entered
      into with ICE for the
      operation of the AIPC, the       Admit. The parties dispute
      2000 NDS, 2008 PBNDS, or         the mechanism by which
      the 2011 PBNDS, as               the operative version of the
  13. applicable, were incorporated    PBNDS                  were
      into the contract and GEO        “incorporated” into the
      was required to comply with      contract. See Fact Nos. 14-
      the same. ECF 270 at 9-10        15, 17-18.
      (Additional Undisputed Fact
      #7).
                                       Admit. GEO’s contract
                                       with ICE, number ACD-3-
                                       C-0008, required that,
                                       “[u]nless          otherwise
                                       specified by an authorized
                                       INS representative,” GEO
                                       “perform in continual
      GEO’s contract with ICE,
                                       compliance with the most
      number         ACD-3-C-0008,
                                       current editions of the INS
      required it to comply with the
                                       Detention Standards and
  14. 2000 NDS from March 27,
                                       the American Correctional
      2003 to September 28, 2006.
                                       Association, Standards for
      ECF 262-5 at 12 (GEO_MEN
                                       Adult Local Detention
      00059754).
                                       Facilities (ACA ALDF).”
                                       Plaintiffs’ Ex. D, ECF 262-
                                       5 at 12 (emphasis added).
                                       The 2000 NDS were the
                                       most current edition of the
                                       INS Detention Standards
                                       during the stated period.



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          GEO’s Statement of             Plaintiffs’ Response and GEO’s Reply to Plaintiffs’
           Undisputed Facts                Supporting Evidence                  Response
                                        Dispute. GEO’s contract
                                        with       ICE,      number
                                        HSCEOP-06-D-00010,
                                        effective September 29,
                                        2006, does not explicitly
                                        incorporate the 2000 NDS.
                                        Plaintiffs admit that GEO’s
                                        contract with ICE, number
                                        HSCEOP-06-D-00010,
                                        effective September 29,
      GEO’s contract with ICE,          2006,      required      that,
      number       HSCEOP-06-D-         “[u]nless          otherwise
      00010, effective September        specified by the CO,” GEO
      29, 2006, similarly required it   “perform in accordance
      to comply with the 2000           with the most current
      NDS. ECF 24-4 at 11               Functional      Areas      (as
      (GEO_MEN          00059644);      outlined in the Performance
  15.
      ECF 260 at 3 (proffering as       Requirement       Summary),
      undisputed the fact that          ICE Detention Standards,
      HSCEOP-06-D-00010 was             and American Correctional
      one of GEO’s contracts with       Association           (ACA)
      ICE during the class period);     Performance-Based
      ECF 262-4 (incorporating the      Standards for Adult Local
      2000 NDS into the contract).      Detention           Facilities
                                        (ALDF).” Plaintiffs Ex. C.,
                                        ECF 262-4 at 11. Plaintiff’s
                                        admit that the 2000 NDS
                                        were the most current ICE
                                        Detention Standards at the
                                        time the contract was
                                        signed, but other versions of
                                        the PBNDS were published
                                        during the term of the
                                        above-cited contract.
      On April 28, 2010, GEO                                           GEO denies any change in
      entered into a contract                                          the     PBNDS        would
      modification      with    ICE                                    automatically change GEO’s
  16. (HSCEOP-06-D-                     Undisputed.                    contract with ICE to
      00010/P00018)          which                                     incorporate new standards.
      required it to comply with the                                   GEO and ICE specifically
      2008 PBNDS, effective                                            incorporated each change to


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          GEO’s Statement of          Plaintiffs’ Response and       GEO’s Reply to Plaintiffs’
            Undisputed Facts           Supporting Evidence                    Response
        immediately. ECF 270 at 10                                   the PBNDS into its contract
        (Additional Undisputed #10)                                  modifications so that any
        (citing ECF 271-3, cited as                                  cost ramifications could be
        “Ex. C”); ECF 261-9 (2008                                    addressed prior to changing
        PBNDS).                                                      the contract requirements.
                                                                     Ex. G (Amber Martin Dep.
                                                                     46-47).
                                      Dispute. HSCEDM-11-D-
                                      00003 incorporated the
                                      “DHS/ICE            PBNDS
                                      (Performance          Based
                                      National          Detention
                                      Standards),” and stated that
                                      “a copy of the current
      GEO’s subsequent contract
                                      version is obtainable on the
      with ICE, number HSCEDM-                                       GEO denies any change in
                                      internet           Website:
      11-D-00003, required it to                                     the     PBNDS         would
                                      http://www.ice.gov/detenti
      continue to comply with the                                    automatically change GEO’s
                                      on-standards/2008/.” The
      2008 PBNDS. That contract                                      contract with ICE to
                                      contract also required that
      was effective September 15,                                    incorporate new standards.
                                      “these constraints may
      2011. ECF 262-2 at 38                                          GEO and ICE specifically
                                      change over time; the
      (incorporating the 2008                                        incorporated each change to
  17.                                 Contractor      shall     be
      PBNDS into the contract);                                      the PBNDS into its contract
                                      knowledgeable of any
      ECF 270 at 10 (Additional                                      modifications so that any
                                      changes to the constraints
      Undisputed Fact #11, #12)                                      cost ramifications could be
                                      and perform in accordance
      (noting Plaintiffs proffer as                                  addressed prior to changing
                                      with the most current
      undisputed the fact that                                       the contract requirements.
                                      version of the constraints.”
      HSCEDM-11-D-00003 was                                          Ex. G (Amber Martin Dep.
                                      ECF No. 262-2 at 37-38.
      one of GEO’s contracts with                                    46-47).
                                      The 2011 PBNDS were
      ICE during the Class Period).
                                      published on February 27,
                                      2012, and were thus the
                                      “most current” version of
                                      the PBNDS after that date.
                                      Reply Ex. 8, ECF No. 287-
                                      8 at 10 (ICE report re
                                      PBNDS).
      On May 23, 2013, GEO            Admit. Plaintiffs note that    GEO denies any change in
      entered into a contract         GEO was required to            the     PBNDS        would
  18. modification   with     ICE     remain aware of and            automatically change GEO’s
      (HSCEDM-11-D-                   perform in accordance with     contract with ICE to
      00003/P00005) agreeing that,    ongoing changes to the         incorporate new standards.


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          GEO’s Statement of             Plaintiffs’ Response and      GEO’s Reply to Plaintiffs’
           Undisputed Facts                Supporting Evidence                  Response
        effective June 23, 2013, GEO    PBNDS under its existing       GEO and ICE specifically
        would comply with the 2011      contract, and in fact began    incorporated each change to
        PBNDS. ECF 270 at 10            implementing        changes    the PBNDS into its contract
        (Additional Undisputed Fact     associated with the 2011       modifications so that any
        #12) (citing ECF 271-4, cited   PBNDS long before the          cost ramifications could be
        as “Ex. D”); ECF 262-3, 2       contract       modification.   addressed prior to changing
        (GEO-MEN 00020406; ECF          Reply Ex. 9, ECF No. 287-      the contract requirements.
        270 at 10 (Additional           9 (A. Martin 30(b)(6) Dep.     Ex. G (Amber Martin Dep.
        Undisputed Fact #11, #12)       43:23-46:6) (describing an     46-47).
        (noting Plaintiffs proffer as   email sent April 4, 2012
        undisputed the fact that        that included an attachment
        HSCEDM-11-D-                    regarding      the    major
        00003/P00005 was one of         changes between the 2008
        GEO’s contracts with ICE        and 2011 PBNDS and
        during the Class Period).       explicitly mentioning the
                                        new language stating that
                                        compensation for VWP
                                        work is “at least $1.00”).
      The 2000 NDS and all
      applicable versions of the
      PBNDS require GEO to
      adopt, without alteration, the
      ICE disciplinary severity
      scale. ECF 261-10 at 17
      (2000       NDS)      (Contract
      Detention Facilities “shall
      adopt, without changing, the
      offense       categories     and
      disciplinary sanctions set
  19.                                  Undisputed.
      forth in this section.”); ECF
      261-9 at 45 (2008 PBNDS)
      (Contract Detention Facilities
      “shall       adopt,      without
      alteration,      the     offense
      categories and disciplinary
      sanctions set forth in this
      section.”); ECF 261-8 at 39
      (2011       PBNDS)         (“All
      facilities shall have graduated
      scales of offenses and



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        GEO’s Statement of             Plaintiffs’ Response and   GEO’s Reply to Plaintiffs’
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      disciplinary consequences as
      provided in this section.”).
      The 2000 NDS and all
      versions of the PBNDS
      require GEO to provide
      notice to detainees, in the
      local detainee handbook, of
      the             ICE-mandated
      disciplinary severity scale.
      ECF 261-10 at 10 (2000
      NDS)       (“The      detainee
      handbook, or supplement,
      issued to each detainee upon
      admittance, shall provide
      notice of … the disciplinary
  20. severity scale …”); ECF 261- Undisputed.
      9 at 44 (2008 PBNDS) (“The
      detainee     handbook,       or
      supplement, issued to each
      detainee upon admittance,
      shall provide notice of … the
      disciplinary severity scale
      …”); ECF 261-8 at 38 (2011
      PBNDS) (“The detainee
      handbook, or supplement,
      issued to each detainee upon
      admittance, shall provide
      notice of … the disciplinary
      severity scale …”).
      Likewise, the 2000 NDS and
      all versions of the PBNDS
      explicitly      provide       a
      disciplinary severity scale
      that includes the “[r]efusal to
      clean assigned living area” as
  21.                                 Undisputed.
      an offense which can be
      sanctioned by “[d]isciplinary
      segregation (up to 72 hours).”
      ECF 261-10 at 24 (2000
      NDS); ECF 261-9 at 56 (2008
      PBNDS); 261-8 at 47 (2011


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          GEO’s Statement of            Plaintiffs’ Response and       GEO’s Reply to Plaintiffs’
           Undisputed Facts              Supporting Evidence                  Response
        PBNDS); ECF 260 at 17
        (Plaintiffs’ Undisputed Facts
        #77 and #79).




      The 2000 NDS and all
      versions of the PBNDS also
      explicitly       provide     a
      disciplinary severity scale
      that lists “[r]efusing to obey
      the order of a staff member or
      officer” as an offense which
      can be sanctioned by
  22.                                   Undisputed.
      “[d]isciplinary segregation
      (up to 72 hours).” ECF 261-
      10 at 24 (2000 NDS); ECF
      261-9 at 56 (2008 PBNDS);
      261-8 at 47 (2011 PBNDS);
      ECF 260 at 17 (Plaintiffs’
      Undisputed Facts #77 and
      #79).
      The       Aurora      Detainee
      Handbook        (the    “AIPC
      Handbook”) is issued to all
  23.                                   Undisputed.
      detainees entering Aurora.
      ECF 270 at 7 (Material
      Undisputed Fact #14).
      The AIPC’s Handbook’s             Dispute. The severity scales   GEO notes that during the
      disciplinary severity scale       listed   in    the     GEO     deposition of Ms. Ceja, she
      does not deviate from the         handbooks do deviate from      indicated that the highlights
  24. 2000 NDS or the applicable        the NDS and PBNDS. For         within the document indicate
      PBNDS. ECF 273-1 (2005            example,      the      2005    a handbook was a non-final
      AIPC Handbook, cited as           Handbook adds additional       version and likely being
      “Ex.      E”);     (GEO_MEN       possible sanctions for         updated to comply with new


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        GEO’s Statement of                Plaintiffs’ Response and       GEO’s Reply to Plaintiffs’
          Undisputed Facts                  Supporting Evidence                    Response
      00054151-222); ECF 273-2           “greatest”          offenses.   requirements. Ex. B (Ceja
      (2007 AIPC Handbook, cited         Compare GEO Ex. E, ECF          30(b)(6) Dep. 132:6-11
      as “Ex. F”); ECF 273-3 (2008       No. 273-1 at 25 (Local          8/05/20). Therefore it is
      AIPC Handbook, cited as            Detainee Handbook (2005         likely this version is one that
      “Ex. G”); ECF 273-4 (2010          version)) (listing seven        was in the process of being
      AIPC Handbook, cited as            potential sanctions for         updated to be used for a
      “Ex. H”); ECF 273-5 (2011          “greatest” offenses) with       different version of the
      AIPC Handbook, cited as            Plaintiffs’ Ex. N, ECF 261-     PBNDS.
      “Ex. I”); ECF 261-17               10 at 20 (INS Standards)
      (October       2013      AIPC      (listing    four    potential   GEO further notes that
      Handbook)         (Specifically    sanctions for “greatest”        Plaintiffs do not dispute that
      identified     in     Plaintiffs   offenses”).                     the disciplinary severity
      discovery responses as the                                         scale appeared verbatim in
      basis for their claims); ECF                                       every other handbook—nor
      271-5, Kevin Martin Dep.                                           can they.
      40:21-24 (“Q. Do you know
      if there’s any deviation from
      between . . . the GEO
      Detainee Handbook and the
      PBNDS as far as disciplinary
      requirements? A. Not as far as
      disciplinary requirements[.]”)
      (cited as “Ex. J” to ECF 270).
      All of GEO’s policies are
      reviewed and approved by an
                                         Undisputed.
  25. on-site ICE official. ECF 270
      at 7 (Material Undisputed
      Fact #15).
      The 2000 NDS and the
      applicable versions of the
      PBNDS provide for the exact
      graduated scales of offenses
      and                disciplinary
  26. consequences for dedicated         Undisputed.
      facilities, such as the AIPC.
      ECF 261-10 at 24 (2000
      NDS); ECF 261-9 at 56 (2008
      PBNDS); 261-8 at 47 (2011
      PBNDS).




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        GEO’s Statement of             Plaintiffs’ Response and       GEO’s Reply to Plaintiffs’
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      The graduated scale of
      offenses (of which detainees
      must be made aware) are
      explicitly laid out in the 2000
      NDS and the applicable
      PBNDS, providing GEO no
  27.                                 Undisputed.
      discretion whatsoever to alter
      the disciplinary severity
      scale. ECF 261-10 at 24
      (2000 NDS); ECF 261-9 at 56
      (2008 PBNDS); 261-8 at 47
      (2011 PBNDS).
                                                                      GEO notes that during the
                                                                      deposition of Ms. Ceja, she
                                                                      indicated that the highlights
                                                                      within the document indicate
                                        Dispute. Kevin Martin’s       a handbook was a non-final
                                        testimony is incorrect; the   version and likely being
      As required by the 2000 NDS
                                        severity scales listed in the updated to comply with new
      and the applicable versions of
                                        GEO handbooks deviate         requirements. Ex. B (Ceja
      the PBNDS, the disciplinary
                                        from the NDS and PBNDS.       30(b)(6) Dep. 132:6-11
      severity scale is copied
                                        Compare GEO Ex. E, ECF        8/05/20). Therefore it is
      verbatim into the AIPC
                                        No. 273-1 at 25 (Local        likely this version is one that
      Handbook. ECF 271-5, Kevin
                                        Detainee Handbook (2005       was in the process of being
  28. Martin Dep. 40:13-16 (“And
                                        version)) (listing seven      updated to be used for a
      does the Detainee Handbook
                                        potential sanctions for       different version of the
      lay out these exact rules from
                                        “greatest” offenses) with     PBNDS. Therefore, Kevin
      the PBNDS for the detainees
                                        Plaintiffs’ Ex. N, ECF No.    Martin’s      testimony      is
      as far as discipline goes? A:
                                        261-10      at   20     (INS  dispositive.
      Yes.”) (cited as “Ex. J” to
                                        Standards) (listing four
      ECF 270); 83:17-22 (same).
                                        potential sanctions for GEO further notes that
                                        “greatest” offenses”).        Plaintiffs do not dispute that
                                                                      the disciplinary severity
                                                                      scale appeared verbatim in
                                                                      every other handbook—nor
                                                                      can they.
      In addition to the disciplinary   Admit that ECF No. 262-8
      severity scale, GEO has           is a GEO document about
  29. detailed      a      Sanitation   Sanitation Procedures; it is No further response.
      Procedures document that          entitled simply, “Sanitation
      contains a section entitled       Procedures” and is a


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          GEO’s Statement of               Plaintiffs’ Response and   GEO’s Reply to Plaintiffs’
            Undisputed Facts                 Supporting Evidence             Response
        “Detainee            Sanitation   different document from
        Procedures.” ECF 262-8;           ECF No. 50-4, which is a
        ECF 50-4 (the “Sanitation         GEO policy describing the
        Procedures”).                     Voluntary Work Program.
        The Sanitation Procedures set
        forth general standards for
  30.   sanitation that must be           Admit as to ECF No. 262-8. No further response.
        followed by both GEO
        employees and detainees. Id.
        While the sanitation policies
        for detainees apply to those
        detainees housed at the AIPC
        who participate in cleaning
        tasks through the VWP or by
        cleaning their living area,
        ECF 50-1 at 9 (Ceja Dep.
        29:13-16), the Sanitation
  31.   Procedures        were      not   Undisputed.
        developed to assign tasks to
        specific individuals, but
        rather to detail the actual
        process for cleaning and
        materials and supplies to be
        used. ECF 271-5, Kevin
        Martin Depo. 208:6-11 (cited
        as “Ex. J” to ECF 270).
        The Sanitation Procedures do
        not specify which aspects of
        cleaning are the responsibility
        of all detainees and which are
  32.                                     Undisputed.
        the responsibility of VWP
        workers. ECF 270 at 7
        (Material Undisputed Fact
        #19).
        The Sanitation Procedures
        also contain a section
        detailing the consequences
  33.   for non-compliance, stating:      Undisputed.
        “The Dormitory/Unit Officer
        will inspect all living areas
        daily     and     report   any


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        infraction of these regulations
        to the immediate supervisor.
        The officer will notify
        detainees of unsatisfactory
        conditions, in cases of
        continued      noncompliance,
        staff will issue an incident
        report.” ECF 262-8 at 4; ECF
        50-4.      The       Sanitation
        Procedures do not provide for
        any other penalty for non-
        compliance. Id.
                                          Dispute.      Although not
                                          formally documented in a
                                          single written policy, GEO
                                          maintained     a      practice
                                          throughout the time period
                                          covered by this case of
                                          requiring detainees to clean
                                          the common living areas
                                          without pay (the “Housing
                                          Unit Sanitation Policy,” or
                                          “HUSP”),         and        of
      GEO has never maintained a          threatening them with            GEO states that the witness
      separate policy or practice of      solitary confinement if they     describes the cleanup as a
      placing a detainee in solitary      did not comply. GEO’s own        meal cleanup. GEO further
  34. confinement for the refusal to      30(b)(6) witness admitted        states that the cited sections
      clean a living area. Ex. _          the scope of the HUSP, and       of Ms. Ceja’s testimony do
      (Amber Martin Dep., 134,            that solitary confinement        not     support     Plaintiffs’
      135).                               was a possible sanction for      descriptions.
                                          noncompliance. Plaintiffs’
                                          Ex. P, ECF No. 26112 (Ceja
                                          30(b)(6) Dep. 36:8-37:9;
                                          84:3-85:15); Reply Ex. 5,
                                          ECF No. 287-5 (Ceja
                                          30(b)(6) Dep. 79:19-25).
                                          Both       the      sanitation
                                          requirements       and     the
                                          penalties                  for
                                          noncompliance              are
                                          referenced        in       the


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                                      orientation video that GEO
                                      shows detainees when they
                                      arrive at the AIPC.
                                      Plaintiffs’ Ex. X, ECF No.
                                      262-10 at 3, 8 (Detainee
                                      Orientation Video). And in
                                      fact, GEO did impose
                                      solitary confinement on
                                      detainees who refused to
                                      perform HUSP duties.
                                      Plaintiffs’ Ex. Z, ECF No.
                                      262-12          (disciplinary
                                      charges and reports). GEO
                                      also threatened detainees
                                      with solitary confinement
                                      on a regular basis when
                                      they refused to clean
                                      pursuant to the HUSP. See,
                                      e.g., Reply Ex. 10, ECF No.
                                      287-10 (Xahuentitla-Flores
                                      Dep. 73:19-74:9; 83:7-19);
                                      Plaintiffs’ Opp. Ex. 2
                                      (Hernandez-Ceren        Dep.
                                      74:23-75:11, 78:10-79:5);
                                      Plaintiffs’ Opp. Ex. 3
                                      (Hernandez-Torres       Dep.
                                      60:8-14).
                                      Admit that ICE audits GEO
                                      to ensure that it complies      GEO disputes that Plaintiffs
                                      with certain requirements of    documents provide any
      ICE audits GEO to ensure        its    contract, including      information about the scope
      that GEO complies with all      PBNDS obligations, but          of ICE audits. Indeed, Mr.
      requirements of its contract,   dispute that these audits       Ragsdale made clear he did
      including its obligations       review or capture all such      not speak for ICE. Further,
  35.
      under the PBNDS. ECF 270        requirements, or all aspects    the testimony in question did
      at 13 (Additional Undisputed    of the PBNDS. The audits        not discuss ICE’s audits, but
      Fact #24) (citing ECF 273-6,    review specific components      instead was discussing a
      cited as “Ex. L”).              of PBNDS requirements,          portion of GEO’s contract
                                      which are listed on the audit   with ICE. Ex. H (Ragsdale
                                      documents themselves. See       Dep. 32:21-25).
                                      GEO Ex L., ECF No. 273-6


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                                       (Denver Contract Detention
                                       Facility Annual Review);
                                       Reply Ex. 12, ECF No. 287-
                                       12 (Ragsdale 30(b)(6) Dep.
                                       36:1-38:10)
                                       (acknowledging that ICE
                                       audits do not cover “the
                                       requirement that [detainees]
                                       clean the common areas”).
                                       Admit that certain audits
                                       review compliance with
                                       certain              PBNDS
                                       requirements;      however,
                                                                        GEO disputes that Plaintiffs
                                       Plaintiffs dispute that the
                                                                        documents provide any
                                       audits      comprehensively
                                                                        information about the scope
                                       review compliance with
                                                                        of ICE audits. Indeed, Mr.
                                       “each”               PBNDS
      As part of each inspection,                                       Ragsdale made clear he did
                                       requirement. The audits
      each     audit      reviews                                       not speak for ICE. Further,
  36.                                  review specific components
      compliance     with    each                                       the testimony in question did
                                       of PBNDS requirements,
      PBNDS requirement. Id.                                            not discuss ICE’s audits, but
                                       which are listed on the audit
                                                                        instead was discussing a
                                       documents themselves. See
                                                                        portion of GEO’s contract
                                       GEO Ex L., ECF No. 273-6
                                                                        with ICE. Ex. H (Ragsdale
                                       (Denver Contract Detention
                                                                        Dep. 32:21-25).
                                       Facility Annual Review);
                                       Reply Ex. 12, ECF No.
                                       287-12 (Ragsdale 30(b)(6)
                                       Dep. 36:1-38:10).
                                       Admit; however, the audit
                                                                        GEO states that          the
                                       reviews only whether the
                                                                        documents cited do not
                                       orientation          includes
                                                                        cover the entirety of the
                                       sections           covering:
      The materials provided to                                         content of the week long
                                       “Unacceptable       activities
      detainees at intake, including                                    audits. Indeed, auditors are
                                       and       behavior;       and
      the handbook and orientation                                      provided all of GEO’s
  37.                                  corresponding sanctions;
      video, are regularly audited                                      policies. ECF 308-1 ¶ 6.
                                       How to contact ICE; The
      and have passed each audit
                                       availability of pro bono
      since 2004. Id.                                                   Additionally, Plaintiffs’ own
                                       legal services, and how to
                                                                        response admits that ICE
                                       pursue     such     services;
                                                                        reviews the AIPC Detainee
                                       Schedule of programs,
                                                                        Handbook which includes
                                       services, daily activities,


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          GEO’s Statement of          Plaintiffs’ Response and GEO’s Reply to Plaintiffs’
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                                     including          visitation, all of the policies at issue in
                                     telephone usage, mail this case.
                                     service, religious programs,
                                     count procedures, access to
                                     and use of the law library
                                     and the general library;
                                     sick-call procedures, etc.,
                                     and        the       detainee
                                     handbook.” GEO Ex. L
                                     ECF No. 273-6 at 3
                                     (105//2007),               12
                                     (10/22/2009),              26
                                     (10/21/2010),              38
                                     (9/29/2011).
      The audits specifically review
      intake procedures to ensure
      that     the       orientation
      information           provides
      information              about
  38.                                 Undisputed.
      ‘[u]nacceptable activities and
      behavior, and corresponding
      sanctions” as well as the
      detainee    handbook.       Id.
      (GEO-MEN 00131895).
                                                                    Plaintiffs’ dispute cites to a
                                                                    single sentence of the same
                                    Dispute       that       the    audit documents cited by
                                    “disciplinary severity scale    GEO which dedicate over a
                                    is audited.” The audit          page to the audit of the
                                    reviews whether the facility    disciplinary severity scale
                                    has a “written disciplinary     and thus the basis for their
      The disciplinary severity
                                    system using progressive        dispute is without merit.
      scale is audited and has
  39.                               levels of reviews and
      passed each audit since 2004.
                                    appeals.” GEO Ex. L., ECF       GEO notes that the cited
      Id.
                                    No. 273-6 at 6 (10/5/2007),     documents             include
                                    14     (10/22/2009),      28    “remarks” for each year
                                    (10/21/2010),             40    which indicate that the
                                    (9/29/2011),              58    auditors     reviewed      the
                                    (9/29/2016).                    detainee handbook every
                                                                    year, which includes the
                                                                    disciplinary severity scale.


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                                                                     GEO further states that the
                                                                     documents cited do not
                                                                     cover the entirety of the
                                                                     content of the week long
                                                                     audits. Indeed, auditors are
                                                                     provided all of GEO’s
                                                                     policies. ECF 308-1 ¶ 6.




      Audits review whether GEO
      provides notice of the
      disciplinary severity scale
                                        Undisputed.
  40. and have found GEO
      compliance based upon a
      review of its handbooks. Id.
      (GEO-MEN 00131936).
      ICE has not only approved of      Admit the events stated
      the disciplinary severity scale   above; however, Plaintiffs
      but has also acted to             dispute that the ICE officers
      implement and enforce the         onsite at Aurora were
      sanctions therein. One of the     authorized to condone acts
      named Plaintiffs in this          that deviate from the
      case—Demetrio Valerga—            requirements       of     the
      explained       during      his   Contract,      as      GEO’s
      deposition that ICE officers      implementation of the
      also enforced the ICE             HUSP does. Plaintiffs’ Ex.
  41.                                                                 No further response.
      sanctions. After claiming that    A, ECF No. 261-2 (A.
      one of GEO’s corrections          Martin     Dep.       198:22-
      officers told Mr. Valerga he      199:10); Reply Ex. 6, ECF
      could      be     placed     in   No. 287-6 (A. Martin Dep.
      segregation if he did not help    81:22-82:13);          GEO’s
      clean his own common area,        Second        Notice       of
      ECF       272-7,     Demetrio     Supplemental Authority Ex.
      Valerga Dep., 135:15-137:19       B, ECF No. 297-2 at 3-4
      (cited as “Ex. M” to ECF          (Contracting        Officer’s
      270), Mr. Valerga then            Representative      (“COR”)


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      explained ICE officers woke        Appointment Letter) (listing
      him up, pulled him out of his      functions and actions the
      housing unit, and spoke to         COR “shall not” undertake,
      him directly. Id. at 138:2-13.     including      “direct     the
      During that conversation,          contractor . . . to operate in
      ICE officers told Mr. Valerga      conflict with the contract
      that he could, in fact, be taken   terms and conditions” and
      to segregation for refusing to     “[c]hange or modify any of
      help clean his living area. Id.    the terms and conditions . . .
      at 138:15-23.                      of a contract”).
      The 2000 NDS and all
      applicable versions of the
      PBNDS require that GEO
  42. provide      detainees       the   Undisputed.
      opportunity to participate in a
      VWP. ECF 270 at 8 (Material
      Undisputed Fact #20).
                                         Admit except for GEOs use
                                         of the phrase “directed
                                         that,” which implies that the
                                         quoted statement in the
                                         PBNDS is an instruction
                                         about how GEO must pay
                                         VWP workers, as opposed
      The 2000 NDS, with which           to a statement about the
      the AIPC was contractually         amount that ICE would
      obligated to comply from           reimburse GEO for VWP
      March 27, 2003 to April 28,        labor. Plaintiff Ex. A, ECF
      2010, required GEO to              No. 261-2 (A. Martin Dep.
  43.                                                                  No further response.
      provide “compensation” and         106:6107:22).      Plaintiffs
      explicitly directed that “the      also note that GEO was
      stipend is $1.00 per day, to be    required to comply with the
      paid daily.” ECF 261-10 at 5       2008 PBNDS when they
      (2000 NDS).                        were published, see Fact
                                         No. 15, which occurred
                                         during the stated period,
                                         NDS and the 2008 PBNDS.
                                         See ECF 261-9 at 63 (2008
                                         PBNDS)                  (“the
                                         compensation is $1.00 per
                                         day”)


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                                      Admit that the cited
                                      document contains the
                                      quoted       text;    however
                                      dispute GEO’s statement
                                      that this constituted a
                                      “mandate[],” as opposed to
                                      a statement about the
                                      reimbursement           offered
                                      from ICE to GEO. GEO
                                      paid more than $1.00 a day
                                      to detainees at other ICE
                                      facilities, including paying
      Likewise, the 2008 PBNDS,       up to $3.00 a day to
      with which the AIPC was         detainees at its South Texas      No further response as
      contractually obligated to      Detention Facility in 2009,       Plaintiffs admit substance of
      comply from April 28, 2010      and was therefore well            the fact. GEO states that the
  44.
      to June 22, 2013, mandated      aware that higher pay was         amounts some detainees
      that “the compensation is       an option. Reply Ex. 13,          received at other facilities
      $1.00 per day.” ECF 261-9 at    ECF No. 287-13 at 7-13            are not relevant here.
      63 (2008 PBNDS).                (South Texas 2009 detainee
                                      pay). In addition, GEO can
                                      and        does         request
                                      modifications        of     the
                                      Contract when it needs to.
                                      Plaintiffs’ Ex. A, ECF No.
                                      261-2 (A. Martin Tr. 106:8-
                                      108:10). GEO did not
                                      request        a       contract
                                      modification        to      pay
                                      detainees more than $1.00
                                      per day at the AIPC. Id. at
                                      105:3-12.
      Beginning on June 23, 2013,     Admit the quoted content of
      AIPC was bound by the 2011      the document, and that the
      PBNDS, which state that         2011 PBNDS was formally           No further response. GEO
      participants in the VWP will    incorporated       into     the   states that the amounts some
  45. be compensated with “at least   Contract on June 23, 2013.        detainees received at other
      $1.00 (USD) per day.” ECF       Plaintiffs do not agree with      facilities are not relevant
      261-8 at 53 (2011 PBNDS).       GEO’s implication that the        here.
      Thus, the “at least” language   option to pay more than $1
      upon which the VWP Class        per day did not exist prior to


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          GEO’s Statement of             Plaintiffs’ Response and GEO’s Reply to Plaintiffs’
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        relies was not implemented at   it formally agreeing to
        the AIPC until approximately    incorporate portions of the
        halfway through the VWP         2011 PBNDS into its
        Class Period.                   contract. GEO had an
                                        obligation      under      the
                                        relevant contract to be
                                        “knowledgeable of any
                                        changes to the [PBNDS] and
                                        perform in accordance with
                                        the most current version of
                                        the      [PBNDS].”        See
                                        Response to Additional Fact
                                        ¶ 11. In addition, GEO can
                                        and        does        request
                                        modifications       of     the
                                        Contract when it needs to.
                                        Plaintiffs’ Ex. A, ECF No.
                                        261-2 (A. Martin Tr. 106:8-
                                        108:10). GEO did not
                                        request       a       contract
                                        modification       to     pay
                                        detainees more than $1.00
                                        per day. Id. at 105:3-12.
      Before the 2011 PBNDS
      were implemented at the           Admit that GEO paid VWP
      AIPC, GEO paid the amount         participants $1.00 prior to
      it was explicitly directed by     the implementation of the No     further    response
  46.
      ICE to pay to VWP                 2011 PBNDS; dispute that required.
      participants: $1.00 per day.      ICE “explicitly directed”
      ECF 270 at 15 (Additional         GEO to pay this amount.
      Undisputed Fact #36).
      Thereafter, GEO continued to
      pay members of the VWP
      Class $1.00 per day; the
      minimum payment explicitly
  47.                                   Undisputed.
      permitted by the 2011
      PBNDS. ECF 270 at 15
      (Additional Undisputed Fact
      cc#37).




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      ICE        reimburses      its
      contractors no more than
      $1.00 per day for work
  48.                                Undisputed.
      performed in the VWP. ECF
      270 at 8 (Material Undisputed
      Fact #22).



      The VWP has been audited
      each year and has passed each
      audit since 2004. ECF 270 at
  49.                               Undisputed
      14 (Additional Undisputed
      Fact #29) (citing GEO-MEN
      00131936).




              Plaintiffs’ Additional Facts                      GEO’s Responses

                                              Disputed. As previously stated, this statement is
                                              inadmissible hearsay that cannot be admitted at this
                                              stage of the litigation. GEO has previously noted that it
                                              is impossible to know what this statement means
                                              without knowing what documents ICE considered to be
                                              the “HUSP.”
           The “ HUSP is not created by
           ICE nor is it a requirement of     The Ely declaration does not refer to the AIPC
        1. the Contract.” Plaintiffs’ Ex.     Handbook and by extension the meal clean-up or the
           K, ECF No. 261-7 ¶ 22 (Ely         disciplinary policy (the documents at issue in this case).
           Decl.)                             Ex. D (ICE email).

                                              Indeed, the attached Exhibit D demonstrates that the
                                              drafter of the declaration did not review the AIPC
                                              Detainee Handbook when drafting this declaration.
                                              Thus, this statement cannot be used reliably to express
                                              ICE’s opinion on the meal clean-up (which appears

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                                               only in the AIPC Handbook) or the disciplinary
                                               severity scale (which also is contained within the AIPC
                                               Handbook). Indeed, ICE drafted the disciplinary
                                               severity scale to which Plaintiffs refer in the term
                                               “HUSP.”
                                               Disputed. As previously stated, this statement is
                                               inadmissible hearsay that cannot be admitted at this
                                               stage of the litigation. GEO has previously noted that it
                                               is impossible to know what this statement means
                                               without knowing what documents ICE considered to be
                                               the “HUSP.”

                                               The Ely declaration does not refer to the AIPC
                                               Handbook and by extension the meal clean-up or the
                                               disciplinary policy (the documents at issue in this case).
                                               Ex. D (ICE email).
              “ICE” did not draft        or
  2.
              negotiate GEO’s HUSP.”
                                               Indeed, the attached Exhibit D demonstrates that the
                                               drafter of the declaration did not review the AIPC
                                               Detainee Handbook when drafting this declaration.
                                               Thus, this statement cannot be used reliably to express
                                               ICE’s opinion on the meal clean-up (which appears
                                               only in the AIPC Handbook) or the disciplinary
                                               severity scale (which also is contained within the AIPC
                                               Handbook). Indeed, ICE drafted the disciplinary
                                               severity scale to which Plaintiffs refer in the term
                                               “HUSP.”

                                               Disputed. As previously stated, this statement is
                                               inadmissible hearsay that cannot be admitted at this
                                               stage of the litigation. GEO has previously noted that it
                                               is impossible to know what this statement means
                                               without knowing what documents ICE considered to be
                                               the “HUSP.”
              The HUSP is “a GEO Policy,
  3.
              created by GEO.”           The Ely declaration does not refer to the AIPC
                                         Handbook and by extension the meal clean-up or the
                                         disciplinary policy (the documents at issue in this case).
                                         Ex. D (ICE email).

                                               Indeed, the attached Exhibit D demonstrates that the
                                               drafter of the declaration did not review the AIPC


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                                                 Detainee Handbook when drafting this declaration.
                                                 Thus, this statement cannot be used reliably to express
                                                 ICE’s opinion on the meal clean-up (which appears
                                                 only in the AIPC Handbook) or the disciplinary
                                                 severity scale (which also is contained within the AIPC
                                                 Handbook). Indeed, ICE drafted the disciplinary
                                                 severity scale to which Plaintiffs refer in the term
                                                 “HUSP.”
              On February 14, 2018 GEO
              sent a letter to ICE requesting
              an equitable adjustment to its
              contract for the Aurora facility
                                                GEO admits it sent a letter to ICE on February 14, 2018,
  4.          to assist it in paying its legal
                                                but denies that the letter is about only the present action.
              fees in connection with this
              litigation. Plaintiffs’ Reply Ex.
              3, ECF No. 287-3 (February 14
              letter).
              The February 14 letter was
              signed by GEO’s Senior Vice
              President       of       Business
              Development,               David
              Venturella, and drafted in
              collaboration            between
              Venturella,      GEO’s      legal
  5.          department and other GEO Admit.
              officials, including GEO’s
              General Counsel or other
              representatives       from    the
              General Counsel’s Office.
              Plaintiffs’ Opp. Ex. 1
              (Venturella Dep. 61:1-21;
              62:10-63:7).
                                                Dispute. GEO states that the letter speaks for itself and
              GEO did not disclose the full notes that there can be no claim that GEO did not
              scope of the mandatory disclose the “full scope” of the present litigation as it
              cleaning required under the cited to the entirety of the docket in this case in footnote
                                                1 of the letter, thereby providing ICE with all
              HUSP in the February 14
                                                information about this case. ECF 287-3. Additionally,
  6.          letter, describing the policy as
                                                there is no recognized meaning of “basic housekeeping
              requiring only that detainees chores,” and Plaintiffs do not point to one. To the extent
              “perform basic housekeeping that Plaintiffs do not believe that cleaning up after a
              chores.” Plaintiffs’ Reply Ex. meal including sweeping up crumbs and wiping down
              3, ECF No. 287-3 (February tables is not “basic housekeeping” GEO disputes this
              14 letter).                       description.

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              In a letter dated June 21, 2018,
              ICE denied GEO’s request for
              an equitable adjustment,
                                                  Dispute. GEO states that the letter speaks for itself and
              explaining      that    “GEO’s
                                                  indicates that it responds to a request dated April 18,
              defense of these private
  7.                                              2018. The letter sets forth a myriad of reasons for
              lawsuits is a defense of its
                                                  denial, namely that GEO has failed to “provide
              contract          performance.”
                                                  adequate supporting data for the quantum sought.”
              Plaintiffs’ Opp. Ex. 4 (GEO-
              MEN00186866 (June 21
              letter)).
              The housing pods in the
              Aurora facility house up to 80      GEO admits that some of its housing pods have the
  8.
              detainees. Plaintiffs’ Opp. Ex.     capacity to hold as many as 80 detainees.
              5 (Pagan Dep. at 108:13-17)
              The Aurora housing pods
              include both cells where            GEO admits that detainees may be housed in pods,
              detainees sleep and common          which are one such style of housing unit layout, and that
              areas where they eat, use the       those pods include showers, phones, and tables.
  9.          phone, and shower. Plaintiffs’      However, GEO disputes that all detainees are housed in
              Opp. Ex. 2 (Hernandez-Ceren         the same style housing unit, noting that some detainees
              Dep. at 25:3-17); Plaintiffs’       are held in dormitory spaces which do not include cells.
              Ex. P, ECF No. 261-12 (Ceja         ECF 313-10 at 15 (Gallegos Dep. 126:17-25)
              30(b)(6) Dep. 36:25-37:4)
                                                  Dispute. Mr. Ragsdale did not provide testimony about
                                                  what detainees were told but rather about his personal
                                                  understanding of general cleaning in the Aurora
                                                  Facility. ECF 261-4. Communications to detainees
                                                  about cleaning would be handled at the local facility,
                                                  not the corporate level where Mr. Ragsdale works.
              GEO told detainees that they        Furthermore, Plaintiffs added to Mr. Ragsdale’s
              have a “common obligation to        testimony in an improper attempt to conflate different
              clean . . . the communal areas”     types of cleaning with the rotating meal clean-up at
              of the housing pods, including      issue in this lawsuit. Plaintiffs added in the phrase “on
  10.         the dayroom and bathrooms,          a rotating basis” at the end of their description. His full
              on a rotating basis. Plaintiffs’    quote states:
              Ex. F, ECF No. 261-4
              (Ragsdale 30(b)(6) Dep. “That folks will clean their immediate living area,
              16:14-18)                        meaning making their bed, dealing with their own
                                               personal property in their immediate living area.· And
                                               they also share sort of a common obligation to clean,
                                               you know, where the microwave is, where the, you
                                               know, game boards are, video games, to keep things in
                                               place in a reasonable cleanliness; the bathroom, you
                                               know . . .”

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                                               Additionally, it is worth noting that Mr. Ragsdale was
                                               not designated for testimony about the local AIPC
                                               practices and communications with detainees—Ms.
                                               Ceja was and therefore Mr. Ragsdale’s testimony does
                                               not speak to communications with detainees at the
                                               AIPC as that would be a topic about the local practices.
              GEO guards threatened to
              send detainees to solitary
              confinement for failing to
              clean under the HUSP.
              Plaintiffs’ Opp. Ex. 2
                                              Dispute. GEO officers never intended to “threaten”
  11.         (Hernandez-Ceren          Dep.
                                              anyone. ECF 306-12.
              74:2375:11,          78:10-18);
              Plaintiffs’ Reply Ex. 10, ECF
              No. 287-10 (Xahuentitla-
              Flores Dep. 73:19-74:9; 83:7-
              19)
                                              Dispute. Plaintiffs’ Exhibit 5 does not include a page
              Sending detainees to solitary 134.
              confinement for failing to
              clean under the HUSP was GEO reiterates that “HUSP” is a term created by the
  12.
              within the regular authority of Plaintiffs. GEO states that the ICE disciplinary severity
              GEO guards. Plaintiffs’ Opp. scale permitted detainees to be sent to segregation for
              Ex. 5 (134:18-135:20)           “refusal to clean assigned living area.” Undisputed Fact
                                              21.
              GEO placed detainees in
              segregation during the class
              period for refusing to clean.
                                              GEO admits that detainees were placed in segregation
              Plaintiffs’ Ex. Z, ECF No.
                                              during the class period where at least one of the charges
              262-12 (disciplinary charges
  13.                                         listed was the refusal to clean. GEO denies that these
              and reports); Plaintiffs’ Opp.
                                              were the only charges listed and notes that the
              Ex. 3 (Hernandez-Torres Dep.
                                              documents speak for themselves.
              60:8-14); Plaintiffs’ Opp. Ex.
              5 (Pagan Dep. at 124:19-
              125:4)
              The HUSP requires detainees
                                              Dispute. The rotating meal clean up, which Plaintiffs
              to “clean up the tables, wipe
                                              refer to as the “HUSP,” involves three tasks: two
              down the tables, and sweep
                                              detainees sweep crumbs from the meal, two detainees
              and mop the floors” in the
  14.                                         mop if needed, and two detainees wipe the tables. The
              common areas, Plaintiffs’ Ex.
                                              meal clean-up does not involve cleaning the phones,
              P., ECF No. 261-12 (Ceja
                                              microwaves, garbage, showers, or recreation which are
              30(b)(6) Dep. at 36:24-37:9),
                                              all VWP positions. Ex. I (Gallegos Dep. 130-133); Ex.
              as well as “clean the rec yard,

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              wipe the [] phones, clean the        B (Ceja 30(b)(6) Dep. 72-74, 77 (8/5/2020); Ex. J
              microwave,        change      the    (Quezada Dep. 64-66).
              garbage bag, clean the
              showers,       disinfect      the
              showers, [and] pick up all the
              trash.” Plaintiffs’ Opp. Ex. 2
              (Hernandez-Ceren Dep. at
              163:3-6)
              These tasks go beyond the
              basic housekeeping chores
              permitted by the PBNDS,
              which       states:       “Work
              assignments are voluntary;           Dispute. This fact is predicated on the assumption that
              however, all detainees are           Plaintiffs’ additional fact 14 is accurate, which it is not
              responsible      for    personal     as described above. Indeed, a number of the above tasks
              housekeeping. Detainees are          are performed as Voluntary Work Program positions as
              required to maintain their           explicitly anticipated by the PBNDS. See Plaintiffs’
              immediate living areas in a          Ex. L, ECF No. 261-8 at 51 (GEO-MEN 00064345
              neat and orderly manner by: 1.       (2011 PBNDS)) (emphasis added); see also Plaintiffs’
              making their beds daily; 2.          Ex. M, ECF No. 261-9 at 61-62 (GEO-MEN 00063294-
              stacking loose papers; 3.            95 (2008 PBNDS)); Plaintiffs’ Ex. N, ECF No. 261-10
              keeping the floor free of debris     at 3 (GEO-MEN 00063672 (INS Detention Standard)).
              and dividers free of clutter;
  15.         and 4. refraining from               Further, Plaintiffs cite to the Voluntary Work Program
              hanging/draping        clothing,     Section of the PBNDS, not the disciplinary section and
              pictures, keepsakes, or other        provide no explanation as to how the Voluntary Work
              objects from beds, overhead          Program Section limits ICE’s disciplinary scale.
              lighting fixtures or other           Section 5.8 does not mention discipline and does not
              furniture.” See Plaintiffs’ Ex.      contain a cross-reference to the disciplinary severity
              L, ECF No. 261-8 at 51 (GEO-         scale despite having a specific section titled
              MEN        00064345        (2011     "References" which includes internal cross references
              PBNDS)) (emphasis added);            to other sections of the PBNDS. There is no colorable
              see also Plaintiffs’ Ex. M, ECF      argument that Section 5.8 instructs detainees that they
              No. 261-9 at 61-62 (GEO-             can make a mess at each meal without the personal
              MEN 00063294-95 (2008                obligation to clean-up before moving on to their next
              PBNDS)); Plaintiffs’ Ex. N,          activity or face the consequence of a reprimand or
              ECF No. 261-10 at 3 (GEO-            warning.
              MEN        00063672         (INS
              Detention Standard))
              GEO never verified with ICE
                                                   Dispute. ICE’s National Detainee Handbook instructs
              whether common areas of the
                                                   that detainees may be disciplined if they do not “keep
  16.         housing pods are part of the
                                                   areas that you use clean, including your living area and
              “living area” described in the
                                                   any general-use areas that you use.” ECF 310-1, 37.
              PBNDS. Plaintiffs’ Ex. A,

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              ECF No. 261-2 (A. Martin
              Dep. 196:23-198:6)
              The Department of Homeland
              Security’s Office of Inspector
                                                   Dispute. GEO states that this document is inadmissible
              General       concluded      that
                                                   hearsay and is not related to the Aurora facility so GEO
              “requiring detainees to clean
                                                   has no knowledge of the same. Indeed, Plaintiffs cite to
              common areas used by all
                                                   a blog post as the source of the report with no
  17.         detainees is in violation of ICE
                                                   information about the reliability of that source. See ECF
              standards, as detainees are
                                                   287 at 4 (declaration of Michael Scimone). Further, the
              only required to clean their
                                                   report does not address the Aurora Facility and is
              immediate living area.” Reply
                                                   therefore not probative of any issue before this Court.
              Ex. 17, ECF No. 287-17 at 8
              (Theo Lacy OIG report)
              The       ICE/GEO        contract
              incorporated the “DHS/ICE
              PBNDS (Performance Based
              National               Detention
              Standards),” and stated that “a      GEO admits that the quoted statement appears in the
              copy of the current version is       document, but denies that any change in the PBNDS
              obtainable on the internet           would automatically change GEO’s contract with ICE
              Website:                             to incorporate new standards. GEO and ICE
              http://www.ice.gov/detention-        specifically incorporated each change to the PBNDS
              standards/2008/.” The contract       into its contract modifications so that any cost
              also required that “these            ramifications could be addressed prior to changing the
              constraints may change over          contract requirements. Ex. G (Amber Martin Dep. 46-
              time; the Contractor shall be        47). As to this specific change, on May 23, 2013, GEO
  18.         knowledgeable of any changes         entered into a contract modification with ICE
              to the constraints and perform       (HSCEDM-11-D-00003/P00005)              agreeing   that,
              in accordance with the most          effective June 23, 2013, GEO would comply with the
              current     version     of    the    2011 PBNDS. ECF 270 at 10 (Additional Undisputed
              constraints.” Plaintiffs’ Ex. B,     Fact #12) (citing ECF 271-4, cited as “Ex. D”); ECF
              ECF No. 262-2, 37-38 (GEO-           262-3, 2 (GEO-MEN 00020406; ECF 270 at 10
              MEN 00019655-56).            The     (Additional Undisputed Fact #11, #12) (noting
              2011 PBNDS were published            Plaintiffs proffer as undisputed the fact that HSCEDM-
              on February 27, 2012, and            11-D-00003/P00005 was one of GEO’s contracts with
              were thus the “most current”         ICE during the Class Period).
              version of the PBNDS after
              that date. Reply Ex. 8, ECF
              No. 287-8 at 8 (ICE report re
              PBNDS)
              GEO pays detainees more than         GEO admits that some detainees receive more than
              $1.00 per day at other ICE           $1.00 per day at other facilities but denies that all
  19.
              facilities, including $1.00 to       detainees at the listed facilities get the rates listed.
              $3.00 per day at its South           Indeed, rates vary by position. GEO further states that

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              Texas Detention Facility, $1.00 this information is irrelevant to GEO’s contract with
              to $2.50 per day at its Folkston ICE for the Aurora facility.
              ICE Processing Center, $1.00
              to $3.00 per day at its Joe
              Corley Detention Facility, and
              $1.00 to $4.00 per day at its
              LaSalle Detention Facility.
              Plaintiffs’ Reply Ex. 13, ECF
              No. 287-13 at 11 (South Texas
              Detention Center Invoices);
              Plaintiffs’ Ex. A, ECF No.,
              261-2 (A. Martin Dep. 109:15-
              110:13); Plaintiffs’ Ex. BB,
              ECF No. 261-18 (GEO-MEN
              00170339 (VWP Pay Rates))
              In these facilities where GEO
              pays detainees more than
              $1.00 per day for VWP work,
  20.         it does so “on [its] own dime.” Admit.
              Plaintiffs’ Ex. A, ECF No.
              261-2 (A. Martin Dep. 107:18-
              22; 109:15-110:13)




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